Case 1:17-cv-02286-RBJ Document 19 Filed 09/27/17 USDC Colorado Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                          Magistrate Judge Kathleen M. Tafoya

Civil Action No. 17–cv–02286–KMT

BETHANY LANGE,
JENNIFER OH,
BROOKE HOFFMAN,
MICAH BAILEY,
LINDA SOLTIS,
DERRICK SMITH,
SHILOH IRVIN,
MATTHEW BRUDNICKI,
JAMES ROCHE,
JENNIFER JOHNSTON,
MICHAEL SPANO,
TORIANNA BONDS,
DAKOTA JONES,
DUSTY DERIGO,
DAN MCCULLOUGH,
ANGEL GONZALES,
CHRISTINA BOHNSTEDT, on behalf of themselves and all others similarly situated,

      Plaintiffs,

v.

ALCOHOL MONITORING SYSTEMS, INC., a Delaware corporation,
LOS ANGELES ALCOHOL MONITORING Inc., a California entity,
SCRAM OF CALIFORNIA, Inc., a California corporation,
ETOH MONITORING, L.L.C., a Louisiana corporation,
RECOVERY SOLUTIONS CONSULTING & TRAINING CORP, a New York corporation,
RECOVERY HEALTHCARE CORPORATION, a unknown entity,
SENTINEL OFFENDER SERVICES, LLC., a Delaware corporation,
SCRAM SYSTEMS OF ILLINOIS, Inc., an Illinois entity,
HOUSE ARREST SERVICES, Inc., unknown entity,
ROCKY MOUNTAIN OFFENDER MANAGEMENT SYSTEMS, LLC., a Colorado
corporation,
PRONTOTRAK, Inc., a Georgia corporation,
TOTAL COURT SERVICES OF INDIANA, L.L.C., an Indiana corporation,
COURT PROGRAMS, Inc., a Mississippi corporation,
MIDWEST MONITORING AND SURVEILLANCE, INC., a Minnesota corporation, and
DOES 1-10, inclusive,
Case 1:17-cv-02286-RBJ Document 19 Filed 09/27/17 USDC Colorado Page 2 of 4




       Defendants.


  ORDER SETTING SCHEDULING/PLANNING CONFERENCE AND SETTING
DEADLINE FOR FILING OF ELECTION CONCERNING CONSENT/NON-CONSENT
        TO UNITED STATES MAGISTRATE JUDGE JURISDICTION


      This case has been directly assigned to Magistrate Judge Kathleen M. Tafoya pursuant to
D.C.COLO.LCivR 40.1(c) allowing the direct assignment of cases to magistrate judges.

       IT IS HEREBY ORDERED:

(1)     The parties shall complete and file the Election Concerning Consent/Non-Consent to
United States Magistrate Judge Jurisdiction indicating either unanimous consent of the parties or
that consent has been declined on or before:

                                        November 20, 2017.

Please note that this date may be earlier or later than the default deadlines contemplated in
D.C.COLO.LCivR 40.1(c)(4).

       (2) The court shall hold a Fed. R. Civ. P. 16(b) scheduling and planning conference on

                                      November 27, 2017, at
                                   9:30 a.m. (Mountain Time).

The conference shall be held in Courtroom C-201, Second Floor, of the Byron Rogers U.S.
Courthouse, 1929 Stout Street, Denver, Colorado. If this date is not convenient for any party1,
he or she shall file a motion to reschedule the conference to a more convenient time. Please
remember that anyone seeking entry into the Byron Rogers United States Courthouse will
be required to show valid photo identification. See D.C.COLO.LCivR 83.2B.

Any party who wishes to attend the conference by telephone must file a motion. However,
telephonic participation will only be allowed by a land line. No cellular, cordless or
speaker phones will be permitted.



1
 The term “party” as used in this Order means counsel for any party represented by a lawyer, and
any pro se party not represented by a lawyer.


                                                 2
Case 1:17-cv-02286-RBJ Document 19 Filed 09/27/17 USDC Colorado Page 3 of 4




        A copy of instructions for the preparation of a scheduling order and a form scheduling
order can be downloaded from the Court’s website at
www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx (Scroll down to the bold
heading “Standardized Order Forms”). For patent cases, a copy of a form scheduling order in a
patent case can be downloaded from the Court’s website at
http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJudges/HonKathleenMTafoya.a
spx. Parties shall prepare the appropriate proposed scheduling order in accordance with the
Court’s form.

       The parties shall submit their proposed scheduling order, pursuant to District of Colorado
Electronic Case Filing (“ECF”) Procedures, on or before:

                                  5:00 p.m. (Mountain Time) on
                                       November 20, 2017.

Attorneys and/or pro se parties not participating in ECF shall submit their proposed scheduling
order on paper to the Clerk’s Office. However, if any party in the case is participating in ECF, it
is the responsibility of that party to submit the proposed scheduling order pursuant to the District
of Colorado ECF Procedures.

         The plaintiff shall notify all parties who have not yet entered an appearance of the date
and time of the scheduling/planning conference, and shall provide a copy of this Order to those
parties.

        (3) In preparation for the scheduling/planning conference, the parties are directed to
confer in accordance with Fed. R. Civ. P. 26(f). The court strongly encourages the parties to
meet face to face, but should that prove impossible, the parties may meet by telephone
conference. All parties are jointly responsible for arranging and attending the Rule 26(f)
meeting.

        During the Rule 26(f) meeting, the parties shall discuss the nature and basis of their
claims and defenses and the possibilities for a prompt settlement or resolution of the case, make
or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1), and develop their proposed
scheduling/discovery plan. The parties should also discuss the possibility of informal discovery,
such as conducting joint interviews with potential witnesses, joint meetings with clients,
depositions via telephone, or exchanging documents outside of formal discovery.

        In those cases in which: (i) the parties’ substantive allegations involve extensive
computer-generated records; (ii) a substantial amount of disclosure or discovery will involve
information or records in electronic form (i.e., e-mail, word processing, databases); (iii) expert
witnesses will develop testimony based in large part on computer data and/or modeling; or (iv)
any party plans to present a substantial amount of evidence in digital form at trial, the parties
shall confer regarding steps they can take to preserve computer records and data, facilitate

                                                 3
Case 1:17-cv-02286-RBJ Document 19 Filed 09/27/17 USDC Colorado Page 4 of 4




computer-based discovery and who will pay costs, resolve privilege issues, limit discovery costs
and delay, and avoid discovery disputes relating to electronic discovery. The parties shall be
prepared to discuss these issues, as appropriate, in the proposed Scheduling Order and at the
scheduling and planning conference.

       These are the minimum requirements for the Rule 26(f) meeting. The parties are
encouraged to have a comprehensive discussion and are required to approach the meeting
cooperatively and in good faith. The parties are reminded that the purpose of the Rule 26(f)
meeting is to expedite the disposition of the action, discourage wasteful pretrial activities, and
improve the quality of any eventual trial through more thorough preparation. The discussion of
claims and defenses shall be a substantive, meaningful discussion.

       The parties are reminded that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be
sought prior to the Rule 26(f) meeting.

        (4) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
P. 26(a)(1). Counsel and parties are reminded that mandatory disclosure requirements
encompass computer-based evidence which may be used to support claims or defenses.
Mandatory disclosures must be supplemented by the parties consistent with the requirements of
Fed. R. Civ. P. 26(e). Mandatory disclosures and supplementation are not to be filed with the
Clerk of the Court.

        (5) All parties are expected to be familiar with the United States District Court for the
District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are available from
Office of the Clerk, United States District Court for the District of Colorado, or through the
District Court’s web site: www.cod.uscourts.gov.

      All out-of-state counsel shall comply with D.C.COLO.LCivR. 83.3 prior to the
Scheduling/Planning Conference.

       Dated this 27th day of September, 2017.

                                                      BY THE COURT:



                                                      _________________________________
                                                      Kathleen M. Tafoya
                                                      United States Magistrate Judge




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